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1    DANIEL BRODERICK, Bar # 89424
     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     LORETTA LEIGH CANHAM
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. Cr.S. 08-363-GEB
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND [PROPOSED ORDER]
13        v.                         )
                                     )
14                                   )
                                     )     Date: March 2, 2012
15   LORETTA LEIGH CANHAM,           )     Time: 9:00 a.m.
                                     )     Judge: Hon. Garland E. Burrell
16                  Defendant.       )
     _______________________________ )
17
18        IT IS HEREBY STIPULATED by and between the parties through their
19   respective counsel, MICHAEL M. BECKWITH, Assistant United States
20   Attorney, attorney for Plaintiff, and DENNIS S. WAKS, Supervising
21   Assistant Federal Defender, attorney for defendant, LORETTA LEIGH
22   CANHAM, that the current Status Conference date of January 20, 2012 be
23   vacated and reset for March 2, 2012 at 9:00 a.m.
24        Defense counsel needs additional time to prepare, to review the
25   discovery, and to interview witnesses.
26        It is further stipulated and agreed to between the parties that
27   the time from the date of the signing of this order to and including
28   March 2, 2012 should be excluded within which the trial of the above
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1    criminal prosecution must commence for purposes of the Speedy Trial
2    Act.    All parties stipulate and agree that this is an appropriate
3    exclusion of time within the meaning of Title 18, United States Code,
4    §3161(h)(7)(B)(iv)(Local Code T4).
5    Dated: January 17, 2012                 Respectfully submitted,
6                                            DANIEL BRODERICK
                                             Federal Defender
7
8                                             /s/ Dennis S. Waks
                                             DENNIS S. WAKS
9                                            Supervising Assistant Federal
                                             Defender
10                                           Attorney for Defendant
                                             LORETTA LEIGH CANHAM
11
12                                           BENJAMIN B. WAGNER
                                             United States Attorney
13
14   Dated: January 17, 2012                 /s/ Dennis S. Waks for
                                             MICHAEL M. BECKWITH
15                                           Assistant U.S. Attorney
16
17                                       O R D E R
18          IT IS SO ORDERED.    For the reasons set forth above, the court
19   specifically finds that the ends of justice served by granting of such
20   a continuance outweigh the best interest of the public and the
21   defendant in a speedy trial and therefore excludes time under the
22   Speedy Trial Act through March 2, 2012.
23   Dated:    January 17, 2012
24
25                                      GARLAND E. BURRELL, JR.
26                                      United States District Judge

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